             Case 2:21-cv-00199-TOR                     ECF No. 18             filed 11/19/21         PageID.77 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                    for thH_
                                                       Eastern District of Washington


81,7('67$7(62)$0(5,&$ ,                                                 )
                             Plaintiff                                     )
                                v.                                         )        Civil Action No. &9725
                                                                           )
                                                                           )
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                      ,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                                   recover from the
defendant (name)                                                                                                            the amount of
                                                                            dollars ($                         ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of                       % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: 8SRQWKH2UGHU*UDQWLQJ6WLSXODWHG3DUWLDO-XGJPHQWLWLV25'(5('  -RKQ++DPPHUDQG'HLUGUD0+DPPHUDUHLQGHEWHGWRWKH
u
             8QLWHG6WDWHVIRUXQSDLGIHGHUDOLQFRPHWD[HV )RUP IRUWKHDQGWD[\HDUVLQWKHDPRXQW
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This   action was (check one):
u tried by a jury with Judge                                                                                    presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                                  without a jury and the above decision
was reached.

✔
u decided by Judge              THOMAS O. RICE




Date: 1RYHPEHU                                                           CLERK OF COURT

                                                                                   SEAN F. McAVOY

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                                                                                                    %\ Deputy Clerk

                                                                                     %)RUWHQEHUU\
